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                           UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON

                                   PORTLAND DIVISION

 FEDERAL TRADE COMMISSION,
 STATE OF ARIZONA,
 STATE OF CALIFORNIA,                               Case No.: 3:24-cv-00347-AN
 DISTRICT OF COLUMBIA,
 STATE OF ILLINOIS,
 STATE OF MARYLAND,                                 CASE MANAGEMENT AND
 STATE OF NEVADA,                                   SCHEDULING ORDER
 STATE OF NEW MEXICO,
 STATE OF OREGON, and
 STATE OF WYOMING,

       Plaintiffs,

       v.

 THE KROGER COMPANY and
 ALBERTSONS COMPANIES, INC.,

       Defendants.

      Upon consideration of the parties Joint Motion for Entry of a Case Management and

Scheduling Order, it is hereby ORDERED that the Motion is GRANTED.

      It is further ORDERED that the following provisions shall govern in this action:

A.    TEMPORARY RESTRAINING ORDER: The Court entered the Stipulation and

      Temporary Restraining Order on February 27, 2024. Under that Temporary Restraining

      Order, the Defendants have agreed not to close their transaction until after 11:59 PM

      Eastern Time on the fifth business day after the Court rules on the Plaintiffs’ request for a

      preliminary injunction or until after the date set by the Court, whichever is later.




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B.   DISCOVERY

     1. Initial Disclosures. The parties shall exchange initial disclosures pursuant to Federal

        Rule of Civil Procedure 26(a)(1) on the date listed in the schedule set forth herein.

     2. Fact Discovery. Fact discovery shall commence and end on the dates listed in the

        schedule set forth herein, except that to the extent a third-party deposition is properly

        noticed, but the third party’s schedule does not reasonably accommodate a deposition

        before the end of fact discovery, a later deposition may occur a reasonable time

        before the evidentiary hearing in this matter. Any other modification to the end date

        of discovery must be agreed to in writing by the parties.

     3. Production of Investigative Materials. On March 1, 2024, Plaintiff FTC produced to

        Defendants copies of all third-party investigational hearing transcripts and

        declarations. Plaintiff FTC substantially completed the production of its investigative

        file on March 11, 2024. Plaintiffs’ productions shall include all non-privileged

        investigation materials, including all documents, communications, data, information,

        declarations, transcripts of testimony, and/or other materials, whether draft or final,

        that they directly or indirectly received from any third party during their

        investigations of Kroger’s proposed acquisition of Albertsons. Plaintiff States shall

        substantially complete their productions by the later of (i) April 15, 2024, or (ii) seven

        days after entry of a Protective Order in this case. For the avoidance of doubt, each

        Plaintiff shall produce non-privileged materials contained within such Plaintiff’s

        investigative file that are not included in Plaintiff FTC’s productions.

     4. Pre-Trial Discovery Conference. The parties are excused from the obligation to

        confer pursuant to Federal Rule of Civil Procedure 26(f).



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5. Third-Party Discovery. No party issuing a third-party subpoena for the production of

   documents or electronically stored information shall request a return date sooner than

   seven calendar days after service. Each side shall produce all materials received

   pursuant to a third-party subpoena, including any declarations or affidavits obtained

   from a third party, to the other side within three business days of receiving those

   materials. Production shall occur in the format the materials were received.

   Notwithstanding the prior provisions of this paragraph, in the event a third party

   produces documents or electronic information that is not Bates-stamped, the party

   receiving the documents shall Bates-stamp the documents or electronic information

   and produce them in a reasonable timeframe.

6. Limitations on Party and Third-Party Declarations or Letters. No side may introduce

   as evidence a declaration, letter of support, or affidavit from a party or third-party

   witness if such declaration, letter of support, or affidavit was executed or served less

   than two days prior to his or her agreed-to deposition date. In any event, no party or

   third-party declaration, letter of support, or affidavit may be introduced as evidence in

   this case if it was executed or served less than fourteen calendar days before the close

   of fact discovery, unless otherwise agreed to in writing by the parties.

7. Document Requests and Production. No more than 25 requests for production may

   be served on any party in this action. There shall be no limit on the number of

   requests for production that the parties may include in subpoenas served on third

   parties. Objections to requests for the production of documents shall be served no

   later than seven calendar days after service of document requests. Within three

   calendar days of service of any such objections, the parties shall meet and confer



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   about resolving the objections. A party shall make good faith efforts to substantially

   comply with requests for production no later than thirty calendar days after the date of

   service. The parties are not required to produce to each other in discovery in this case

   any documents Defendants previously produced to the FTC as part of the FTC’s

   investigation of Kroger’s acquisition of Albertsons, FTC File No. 231-0004 or that

   are produced in the Part 3 administrative proceeding, In re The Kroger Company &

   Albertsons Companies, Inc., Dkt. No. 9428 (FTC).

8. Requests for Admission. Each side shall serve no more than 10 requests for

   admission on the other side. There shall be no limit on requests for admission for

   purposes of authentication and admissibility of documents, data, or other evidence.

9. Interrogatories. Each side shall serve no more than 10 interrogatories on the other

   side. The parties shall serve objections and responses to interrogatories no later than

   fourteen calendar days after the date of service of interrogatories. The parties shall

   serve interrogatories by the date set forth in the schedule herein.

10. Expert Reports. Plaintiffs and Defendants shall serve expert reports, rebuttal expert

   reports, and reply expert reports on the dates set forth in the schedule herein, and shall

   not produce any expert report, report amendment, supplemental declaration, or

   similar document less than seven calendar days prior to their deposition.

11. Expert Materials Not Subject to Discovery. Expert disclosures, including each side’s

   expert reports, shall comply with the requirements of Federal Rule of Civil Procedure

   26(a)(2), except as modified herein:

       a)      Neither side must preserve or disclose, including in expert deposition

               testimony, the following documents or materials:



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                i.   any communication or work product shared between any of the

                     parties’ counsel and their expert(s) or consultants, or between any of

                     the experts themselves;

              ii.    any form of communication or work product shared between an

                     expert(s) and persons assisting the expert(s);

              iii.   an expert’s notes, unless they constitute the only record of a fact

                     relied upon by the expert in formulating an opinion in this case;

              iv.    drafts of expert reports, analyses, or other work product; or

               v.    data formulations, data runs, data analyses, or any database-related

                     operations not relied upon by the expert in the opinions contained in

                     his or her final report, except as set forth in 12(b).

       b) The parties agree that they shall disclose the following materials on the same

           day that they submit the corresponding expert reports:

                i.   a list by Bates number of all documents relied upon by the testifying

                     expert(s);

              ii.    copies of any materials relied upon by the expert not previously

                     produced that are not readily available publicly; and

              iii.   for any calculations appearing in the report, all data and programs

                     underlying the calculation, including all programs and codes

                     necessary to recreate the calculation from the initial (“raw”) data.

12. Disclosure of Experts. The parties shall disclose the names and subject matter of

   each expert on the date set forth in the schedule herein.

13. Exchange of Witness Lists.



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    a) Preliminary Fact Witness Lists: The parties shall exchange preliminary party

       and third-party fact witness lists no later than 5:00 p.m. Eastern time on the

       date set forth in the schedule herein. Preliminary fact witness lists shall be

       limited to no more than 25 fact witnesses per side. The preliminary fact

       witness list shall include the following information if known to the disclosing

       party: (a) the witness’s name and employer; (b) the name, address, telephone

       number, and email address of the witness’s counsel (or, if not represented by

       counsel, the witness’s address, telephone number, and email address); and (c)

       a summary of the general topics of the witness’s anticipated testimony. Each

       party’s preliminary fact witness list shall represent a good faith assessment of

       the witnesses the party reasonably anticipates it may present at the evidentiary

       hearing. Plaintiffs shall jointly submit one list and Defendants shall jointly

       submit one list.

    b) Final Witness Lists: The parties shall exchange final witness lists on or before

       5:00 p.m. Eastern time on the date set forth in the schedule herein. The final

       witness list shall represent a good faith effort to identify all witnesses the

       producing party expects that it may present at the evidentiary hearing, other

       than solely for impeachment. Final witness lists shall be limited to no more

       than 20 fact witnesses plus experts. Final witness lists shall include for each

       witness: (a) an indication of whether the witness will offer expert testimony

       and (b) a summary of the general topics of each witness’s anticipated

       testimony. Each side’s final witness list shall be limited to witnesses who

       appeared on either side’s preliminary fact witness list or were deposed in this



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           matter or the Part 3 administrative proceeding, or any third-party witness who

           provides a declaration in this matter or the Part 3 administrative proceeding,

           provided that the other side has had a reasonable opportunity to depose such

           witnesses, and any testifying experts. Additional witnesses may be added to

           either side’s final fact witness list after the date set forth in the schedule herein

           only by agreement of the parties or with leave of the Court for good cause

           shown.

14. Depositions.

       a) Number of Depositions. Each side may depose an unlimited number of party

           and third-party witnesses. In addition to the depositions permitted under the

           first sentence in 14(a), there may be one 30(b)(6) deposition notice served on

           each Defendant. Depositions of all individuals designated as representatives

           for purposes of one 30(b)(6) deposition notice shall count as one deposition

           for purposes of this paragraph. The parties shall consult with each other prior

           to confirming any deposition to coordinate the time and place of any

           deposition. The parties shall use reasonable efforts to reduce the burden on

           witnesses noticed for depositions and to accommodate the witness’s schedule.

       b) Allocation of Time. All depositions, including depositions of individual fact

           and expert witnesses, shall last no more than seven hours. For the avoidance

           of doubt, a deposition pursuant to Rule 30(b)(6) may last up to nine hours if

           more than one individual is designated to provide testimony. If both Plaintiffs

           and Defendants issue a subpoena to depose the same third-party fact witness,

           they shall allocate the time evenly between them. Unused time in any side’s



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           allocation of deposition time shall not transfer to the other side.

           Notwithstanding the prior provisions of this paragraph, Plaintiffs shall be

           allocated seven hours for depositions of any divestiture buyer or employee of

           any divestiture buyer or any employee, agent, or consultant of any Defendant.

       c) Notice. The parties may not serve a deposition notice or deposition subpoena

           less than seven calendar days before the noticed date for the deposition. The

           parties shall consult with each other prior to confirming any deposition to

           coordinate the time and place of the deposition. The parties shall use

           reasonable efforts to reduce the burden on witnesses noticed for depositions

           and to accommodate the witness’s schedule. If a party serves a third party

           with both a subpoena for the production of documents or electronically stored

           information and a subpoena for deposition testimony, the deposition date must

           be at least seven calendar days after the original return date for the document

           subpoena.

       d) Deposition Designations. The parties agree to work in good faith to reach

           agreement regarding the need, and, if appropriate, a procedure for deposition

           designations by the close of fact discovery.

       e) Remote Depositions. The parties intend to negotiate and submit to the Court a

           Remote Deposition Protocol.

15. Expert Depositions. Each side may take one deposition of each of the other side’s

   testifying experts. Unless the parties agree or the Court orders otherwise, expert

   depositions must be completed on or before the Close of Expert Discovery deadline

   identified in the schedule set forth herein.



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     16. Discovery Uses. All discovery taken in this case can be used in connection with the

        Part 3 administrative proceeding (FTC Dkt. No. 9428), however the deadlines and

        limitations set forth in this Case Management Order shall exclusively govern written

        discovery and depositions in this action. The parties agree that witnesses who are

        deposed in this action shall not be deposed in the Part 3 administrative proceeding

        unless the presiding Administrative Law Judge in the Part 3 proceeding orders

        otherwise. Discovery obtained by a party in the Part 3 administrative proceeding may

        be used in this case only if it has been obtained and served on all parties by the end of

        fact discovery in this action.

     17. Resolving Discovery Disputes. Before filing any discovery-related motion, the

        parties (and any third parties whose discovery is at issue) must meet and confer

        within three calendar days of a request to meet and confer about the dispute. Any

        motion seeking relief from the court shall be filed within five calendar days of

        reaching impasse. Any brief in opposition to the motion shall be filed no later than

        two calendar days after the motion was filed. When a motion to compel discovery is

        granted, any discovery ordered to be produced shall be produced within seven

        calendar days. The procedures provided for in this paragraph are without prejudice to

        following the procedure in Local Rule 26-3.

C.   MOTIONS AND BRIEFING

     18. Plaintiffs shall file a single memorandum in support of the requested preliminary

        injunction by the date set forth in the schedule herein. This brief is not to exceed 50

        pages.




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     19. Defendants shall file a single opposition to the Plaintiffs’ requested preliminary

        injunction by the date set forth in the schedule herein. This brief is not to exceed 50

        pages.

     20. Plaintiffs shall file a single reply memorandum in further support of a preliminary

        injunction by the date set forth in the schedule herein. This brief is not to exceed 35

        pages.

     21. Any motions in limine, including any Daubert motions, shall be filed by the date set

        forth in the schedule herein. Responses to motions in limine and Daubert motions

        shall be filed by the date set forth in the schedule herein.

     22. Each side’s proposed findings of fact and conclusions of law shall be filed by the date

        set forth in the schedule herein. Each side’s proposed findings of fact and

        conclusions of law shall not exceed 100 pages.

D.   EVIDENTIARY HEARING

     23. At any evidentiary hearing regarding Plaintiffs’ requested preliminary injunction,

        each side shall have 40 hours to present its case, including opening arguments and

        any Plaintiff rebuttal case. Time shall be counted using a chess clock kept by the

        parties. Time spent conducting a direct examination shall count against the side

        conducting that direct examination; time spent conducting a cross-examination shall

        count against the side conducting that cross-examination. Closing arguments will not

        be counted against either side’s allotted time.

E.   OTHER MATTERS

     24. Service. Service of any documents not filed via ECF, including pleadings, discovery

        requests, Rule 45 subpoenas for testimony or documents, expert disclosure, and



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  delivery of all correspondence, whether under seal or otherwise, shall be by electronic

  mail or electronic file transfer to the following individuals designated by each party:

     For Plaintiffs:

     To the FTC:                    James Weingarten (jweingarten@ftc.gov)
                                    Charles Dickinson (cdickinson@ftc.gov)
                                    Rohan Pai (rpai@ftc.gov)
                                    Laura Hall (lhall1@ftc.gov)
                                    Corene Wint (cwint@ftc.gov)
                                    Rachel Ma (rma@ftc.gov)

     To State of Arizona:           Robert Bernheim (Robert.Bernheim@azag.gov)
                                    Jayme Weber (Jayme.Weber@azag.gov)

     To State of California:        Nicole Gordon (Nicole.Gordon@doj.ca.gov)
                                    Shira Hoffman (Shira.Hoffman@doj.ca.gov)

     To District of Columbia:       Amanda Hamilton (Amanda.Hamilton@dc.gov)
                                    Will Margrabe (will.margrabe@dc.gov)

     To State of Illinois:          Paul Harper (Paul.Harper@ilag.gov)
                                    Brian Yost (Brian.Yost@ilag.gov)

     To State of Maryland:          Schonette Walker (swalker@oag.state.md.us)
                                    Gary Honick (ghonick@oag.state.md.us)

     To State of Nevada:            Lucas Tucker (LTucker@ag.nv.gov)
                                    Samantha Feeley (sfeeley@ag.nv.gov)

     To State of New Mexico:        Jeff Herrera (jherrera@nmag.gov)
                                    Julie Meade (jmeade@nmag.gov )

     To State of Oregon:            Cheryl Hiemstra (Cheryl.Hiemstra@doj.state.or.us)
                                    Angie Milligan (amilligan@lvklaw.com)
                                    Christine Ortez (cortez@lvklaw.com)

     To State of Wyoming:           Will Young (william.young@wyo.gov)

     For Defendants:

     To Kroger:              Matthew Wolf (matthew.wolf@arnoldporter.com)
                             Sonia Pfaffenroth (sonia.pfaffenroth@arnoldporter.com)
                             Joshua Davis (joshua.davis@arnoldporter.com)



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                             Michael Kientzle (michael.kientzle@arnoldporter.com)
                             Jason Ewart (jason.ewart@arnoldporter.com)
                             Yasmine Harik (yasmine.harik@arnoldporter.com)
                             John Holler (john.holler@arnoldporter.com)
                             Christina Cleveland (christina.cleveland@arnoldporter.com)

                             Mary Perry (mark.perry@weil.com)
                             Luna Barrington (luna.barrington@weil.com)
                             Bambo Obaro (bambo.obaro@weil.com)
                             Luke Sullivan (luke.sullivan@weil.com)

     To Albertsons:          Ted Hassi (thassi@debevoise.com)
                             Michael Schaper (mschaper@debevoise.com)
                             Shannon R. Selden (srselden@debevoise.com)
                             J. Robert Abraham (jrabraham@debevoise.com)
                             Natascha Born (nborn@debevoise.com)
                             Jamie Fried (jmfried@debevoise.com)
                             Mari Cardenas (mcardena@debevoise.com)
                             Tom E. Buckley (tebuckley@debevoise.com)
                             Heather T. Mehler (htmehler@debevoise.com)
                             Marie Ventimiglia (msventim@debevoise.com)

                             Mike Cowie (mike.cowie@dechert.com)
                             James Fishkin (james.fishkin@dechert.com)
                             Thomas Miller (thomas.miller@dechert.com)

                             Enu Mainigi (emainigi@wc.com)
                             Jonathan B. Pitt (jpitt@wc.com)
                             A. Joshua Podoll (apodoll@wc.com)


  In the event the volume of served materials is too large for email and requires

  electronic data transfer by file transfer protocol or a similar technology, or overnight

  delivery if agreed by the parties, the serving party shall telephone or email the other

  side’s principal designee when the materials are sent to provide notice that the

  materials are being served. For purposes of calculating discovery response times

  under the Federal Rules of Civil Procedure, electronic delivery shall be treated the

  same as hand delivery. Service of correspondence or formal papers by 11:59 p.m.




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   Eastern Time shall be considered filed on that day. For purposes of this provision,

   service of discovery requests or productions from parties or third parties after 5:59

   p.m. Eastern Time shall be considered served the next business day.

25. Answer. Defendants shall answer the complaint on or before the date set forth in the

   schedule herein.

26. Nationwide Service of Process. Good cause having been shown in view of the

   geographic dispersion of potential witnesses in this action, the parties shall be

   allowed nationwide service of process of discovery and trial subpoenas pursuant to

   Federal Rule of Civil Procedure 45 and 15 U.S.C. § 23, to issue from this Court that

   may run into any other federal district requiring witnesses to attend this Court. The

   availability of nationwide service of process, however, does not make a witness who

   is otherwise “unavailable” for purposes of Federal Rule of Civil Procedure 32 and

   Federal Rule of Evidence 804 available under these rules regarding the use at trial of

   a deposition taken in this action.

27. Protective Order Concerning Confidentiality. The parties anticipate requesting entry

   of a Protective Order concerning confidentiality of materials produced in this action.

28. Privilege Logs. The parties agree to suspend the obligations of Federal Rule of Civil

   Procedure 26(b)(5)(A) to produce a log of materials withheld from discovery in this

   case (excluding Defendants’ productions made during the course of the FTC’s pre-

   complaint investigation). Notwithstanding the foregoing, the parties shall log

   withheld materials that are: (1) authored by, addressed to, or received from any third

   party or (2) internal to a party that are not authored by, sent to, or received from the




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   party’s in-house or outside attorneys; provided that, documents or communications

   subject to the joint defense agreement with respect to the Proposed Transaction

   entered into between the Defendants and documents or communications sent solely

   within or among Plaintiffs’ organizations and any other state, federal, or local law

   enforcement agency (including persons employed by or acting on behalf of Plaintiffs

   or such other agencies) shall not be logged. For purposes of this paragraph, a “third

   party” excludes a party’s retained expert and persons assisting the expert within the

   meaning of Federal Rule of Civil Procedure 26.

29. Witness Disclosure. Each side shall provide opposing counsel a list of witnesses that

   that side intends to present, including the order in which the witnesses shall be

   presented, no later than 8:00 pm Eastern Time two calendar days before the witness is

   intended to be called. A list of all exhibits anticipated to be admitted on direct

   examination of the particular witness, unless used for purposes of impeachment or to

   refresh the witness’s recollection, shall be disclosed to opposing counsel by 5:00 pm

   Eastern Time one calendar day prior to the hearing day when such witness is intended

   to be called.

30. Inadvertent Production of Privileged Material. Pursuant to Federal Rule of Civil

   Procedure 16(b)(3)(B)(iv) and Federal Rule of Evidence 502(d), inadvertent

   production of documents or communications containing privileged information or

   attorney work product shall not be a basis for loss of privilege or work product of the

   inadvertently produced material, provided that the producing party notifies the

   receiving party within three business days of learning of the inadvertent production

   that the production was inadvertent and that the material should be considered



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   privileged. When a party determines that it has inadvertently produced privileged

   material, it shall notify other parties, who shall promptly return, sequester, or delete

   the privileged material from their document management systems. Within two

   business days of identifying inadvertently produced information or documents(s), the

   party seeking clawback of such materials shall provide a revised privilege log for the

   identified information or documents. A party may move the Court for an order

   compelling production of the material, but such party may not assert as a ground for

   entering such an order the mere fact of inadvertent production. The party asserting

   the privilege must submit a copy of the material at issue for in camera review.

31. Attorney Work-Product. The parties shall neither request nor seek to compel the

   production of any privileged interview notes, interview memoranda, or recitations of

   information contained in such notes or memoranda, created by any party’s counsel,

   except as specified in Paragraph 11 of this Order. Nothing in this Order requires the

   production of any party’s attorney work-product, confidential attorney-client

   communications, communications with or information provided to any potential

   expert witness (whether retained or not), or materials subject to the deliberative-

   process privilege or any other privilege.

32. Electronically Stored Information. The parties agree as follows regarding the

   preservation and production of electronically stored information (“ESI”):

       a) All parties have established litigation holds to preserve ESI that may be

           relevant to the expected claims and defenses in this case. In addition, the

           parties have taken reasonable steps to ensure potentially relevant information

           shall not be automatically deleted.



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       b) If a party desires to use Technology Assisted Review (“TAR”), it shall meet

          and confer with the other side and negotiate in good faith on the reasonable

          use of such technology, unless a party is using a TAR protocol that has

          previously been implemented in connection with the Second Request related

          to Kroger’s acquisition of Albertsons. The use of TAR shall not relieve a party

          of the obligation to conduct a reasonable search for documents responsive to

          document requests and produce non-privileged, responsive documents found

          as a result of that search.

       c) All parties shall produce ESI in the form or forms that facilitate efficient

          review of ESI. In general, the parties shall produce ESI according to the same

          ESI technical specifications used by Defendants in the FTC’s pre-complaint

          investigation.

33. Evidentiary Presumptions.

       a) All documents produced by a Defendant either in response to document

          requests in this litigation or in the course of the FTC’s pre-complaint

          investigation of the proposed acquisition, FTC File No. 231-0004, or any prior

          FTC or Plaintiff States’ investigation, are presumed to be authentic and

          admissible. All documents produced by third parties from their files shall be

          presumed to be authentic within the meaning of Federal Rule of Evidence 901

          and admissible. If a party serves a specific written objection to a document’s

          authenticity or admissibility, the presumption of authenticity or admissibility

          shall no longer apply to that document, and the parties shall promptly meet

          and confer to attempt to resolve the objection.



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      b) Any party may challenge the authenticity or admissibility of a document for

          good cause shown, and if necessary may take discovery related solely to

          authenticity or admissibility of documents.

34. Modification of Scheduling and Case Management Order. Any party may seek

   modification of this Order for good cause, except that the parties may also modify

   discovery and expert disclosure deadlines by agreement.




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                                          SCHEDULE


                  Event                                Date
                                              March 20, 2024, as
Discovery Commences                               stipulated
                                                (ECF No. 84)

Defendants’ Answer to Plaintiffs’
                                                April 29, 2024
Complaint
                                            Within 5 business days
Exchange Initial Disclosures
                                            of entry of this Order
Plaintiffs Serve Preliminary Fact
                                                April 24, 2024
Witness List

Defendants Serve Preliminary Fact
                                                   May 1, 2024
Witness List

Plaintiffs Serve Expert Witness List               May 3, 2024

Defendants Serve Expert Witness List            May 10, 2024

Deadline to Serve Written Discovery
                                                May 14, 2024
Requests to Parties

Deadline to Serve Written Discovery
                                                May 14, 2024
Requests to Third Parties

Close of Party Fact Discovery                   June 11, 2024

Close of Third-Party Fact Discovery             June 11, 2024

Plaintiffs’ Initial Expert Report(s)            June 18, 2024

Defendants’ Rebuttal Expert Report(s)              July 1, 2024

Plaintiffs’ Reply/Rebuttal Expert
                                                   July 12, 2024
Reports

Close of Expert Discovery                          July 22, 2024

Plaintiffs’ Memorandum of Law in
Support of Preliminary Injunction                  July 24, 2024
Motion



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                   Event                            Date
 Exchange of Final Witness Lists and
                                              August 7, 2024
 Exhibit Lists

 Defendants’ Opposition to Plaintiffs’
                                              August 9, 2024
 Motion for Preliminary Injunction

 Objections to Exhibits                       August 14, 2024

 Deadline for Motions In Limine and
                                              August 14, 2024
 Daubert Motions

 Plaintiffs’ Reply to Defendants’
 Opposition to Preliminary Injunction         August 19, 2024
 Motion

 Responses to Motions In Limine and
                                              August 21, 2024
 Daubert Motions

 Pre-Hearing Conference                       August 23, 2024

 Evidentiary Hearing Begins                   August 26, 2024
                                              10 days after the
 Proposed Findings of Fact and
                                             evidentiary hearing
 Conclusions of Law
                                                 concludes




SO ORDERED:

April 12th, 2024                                  ____________________________________
                                                  UNITED STATES DISTRICT JUDGE




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